Case 8:22-cv-00511-CEH-TGW Document 1-2 Filed 03/03/22 Page 1 of 22 PageID 17




           EXHIBIT ''1''
Case 8:22-cv-00511-CEH-TGW Document 1-2 Filed 03/03/22 Page 2 of 22 PageID 18
              From: Jason Knauf
              Date: December 10, 2018 at 11:04:27 AM PST
              To:M~
              Cc: Hariv111111111111>, Samantha Cohen
              Subject: Re: Omld and C.rolyn book

              Very helpful • thank you I Also shows we've been on exactly the same page which is good I




              On 10 Dec 2018, at 18:01, M                                         >>wrote ·

              H1 Jason

              Thanks very much for the Info below• for when you sit down with them it may be helpful to have
              some bacqround reminders so I've Included them below just In case , I know you are better versed
              at this than most but assisllllg where I can. I appreciate your support • please let me know 1f you
              need me to fill In any other blanks

              Thank you!

              s
              • Family: M's relationship with half-siblings (including date/t1m1ng
              questions)
              -They were teenagers when they moved Into her parents' home prior to Meghan being born
              -Ooria leh Tom when Meghan was two years old (moved to the other side of town 45 minutes
              away). His other children were 15 and 17 years old
              -Tom Jr and Samantha dropped out of high school and moved out of their father's home the same
              year




                                                                                                                 Page 10




              •With a 16 year age gap and Meghan being a baby, there was minimal interaction
              -Meghan saw them a handful of times when she was under the age of S, then again when she was
              11 years old She didn't see her half sister again until her father asked her to attend Samantha's
              graduation in New Mexico when Meghan was 22 years old She saw her for one day and hasn't seen
              her since
              -upon Meghan dating Harry, Samantha changed her last name back to Markle, and began a career
              creating stories to sell to the press. She had lost custody of all three of her children from different
              fathers, and though the press had been back briefed about the non relationship with Meghan they
              continued to give her media opportunities
              -Meghan last saw Tom Jr at their grandmothers funeral approx 10 years ago. Meghan was her
              primary caregiver and took care of her the final years of her life
              -Meghan has never had a relationship with either of them; she was always referred to as an only
              child by both of her parents and all of her friends through her entire upbringing because the half
              siblings were not in the picture (by their own choice)
              -there has been no communication or outreach; Meghan has never known their btrthdates or
              middles names and vice versa. The family was raised very estranged and the profile of Meghan's
              relationship created an opportunity for all of the Markle's
              -all of these facts can be validated by anyone who has known Meghan since childhood or aherwards

              • Family . relationship with family and father (past and present)
              -They were close most of her life
              -Meghan supported her father In spite of his recluslveness (as evidence in the article she wrote
              about him for Father's Day on her now defunct website The Tig)
              -media pressure crumbled him and he began doing press deals brokered by his daughter Samantha
              -des111te countless efforts to support him through the past two years, they now no longer have a
              relat1onsh1p

              • H's November 2016 statement
              Very turbulent time, exacerbated by media interest propelled by Samantha Markle. Meghan was
              living alone in Toronto and working and her house was swarmed by paparaw and journalists She
              was chased off the roads when driving. she received a father threat, there was massive interest and
              with very httle support Police were called many times, dec1s1on was made to draw a hne in the sand

              • First appearance at lnvictus 2017
              Not sure what bacqround they want for this

              • Engagement/proposal announcement

              • Wedding (background on certain guest friendships etc)
              • Wedding planning
              • Dealing with media during Thomas Markle situation
              • Nottingham Cottage in the future/ Apartment 1
              Apartment 1 wouldn't be ready until 2021, with growing family they needed space sooner than that
              • the queen offered Windsor which the couple gratefully accepted They are also very happy to have
              the space and privacy that Windsor affords - being able to go for long walks, etc
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Why Is Former Royal Aide Jason
Knauf Giving Evidence Against
Meghan Markle Now?
A witness statement submitted from Meghan's ex-aide Jason Knauf, claims the Duchess of
Sussex wrote the letter to her father 'understanding it could be leaked.' But why is this now
being revealed in court?




BY AALIYAH HARRY            I   POSTED ON ll ll 2027

As the legal battle for Meghan Markle continues and attention around her intensifies, it
is her ex-aide who is proving to also be the centre of the trial. All anyone wants to know
is who Jason Knauf is after he spoke out against Meghan in a witness statement. Earlier
    Case 8:22-cv-00511-CEH-TGW Document 1-2 Filed 03/03/22 Page 4 of 22 PageID 20

The statement read, 'Some of this has been very public-the smear on the front page of
a national newspaper; the racial undertones of comment pieces; and the outright sexism
and racism of social media trolls and web article comments.' Meghan presumably felt
comfortable enough with Knauf, that she asked for his feedback on the famous private
letter to her father, Thomas Markle. However, a mere two months later, Knauf turned
his back on Meghan and called her out for allegedly bullying a junior staffer.




According to The Times, in 2018 Jason emailed Prince William's private secretary, Simon
Case outlining his dispute. The email read, 'I am very concerned that the Duchess was
able to bully two PAs out of the household in the past year. The Duchess seems intent
on always having someone in her sights.' He continued, 'She is bullying (name removed)
and seeking to undermine her confidence.' A month after reporting the allegations of
bullying, he handed in his notice. The harrasmant claims resulted in an onslaught of
press just before her highly anticipated sit-down interview with Oprah Winfrey.
Although 3 months have passed, according to insiders, the 'bullying incident' is still
under investigation, and the final report may take some time yet.

What did Jason Knauf say in his witness
statement?
Knauf has suggested that Meghan hand-wrote a letter to her estranged father, Thomas
Markle, knowing it may be leaked to the press. Knauf said in his statement, 'When the
Duchess was considering how to handle Mr Markle's increasing public interventions -
both for concerns about his welfare and also to protect her reputation - she explored
options for written communication that might convince him to stop giving interviews,
but that could also set the record straight if he gave them to the media.'

A few months after Meghan and Harry's wedding Knauf recalled, 'She asked me to
review an electronic draft of the letter saying, "obviously everything I have drafted is
with the understanding that it could be leaked so I have been meticulous in my word
choice but please do let me know if anything stands out for you as a liability".' He added,
'She also asked a specific question regarding addressing Mr Markle as "Daddy" in the
letter, saying, "given I've only ever called him daddy it may make sense to open as such
    Case 8:22-cv-00511-CEH-TGW Document 1-2 Filed 03/03/22 Page 5 of 22 PageID 21
(despite him being less than paternal), and in the unfortunate event that it leaked it
would pull at the heartstrings".'

He revealed text messages between the two saying, 'In the messages on 24 August she
said she felt 'fantastic; after writing it and added that: 'And if he leaks it then that's on
his conscious, but at least the world will know the truth. Words I could never voice
publicly."

Why is Jason Knauf speaking out against
Meghan Markle now ?


The Mail on Sunday has asked the Court Of Appeal to admit Jason Knauf's written
statement as evidence, but it is unclear whether this statement was prepared before the
first trial, and not allowed to be admitted, or whether this is new evidence. The Duchess
of Sussex won the original case with a Summary Judgment, which means the case never
actually went to trial, so it's possible Kanuf's statement was originally obtained in
preparation for this.

READ MORE: Is Good Morning Britain Gaslighting Meghan Markle?

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Meghan Markle's Texts to Aide Over Letter to
Her Father Made Public in Court Documents
A witness statement provided by former royal Communications Secretary
Jason Knauf details his text and email communications with Meghan and
Harry.

BY VICTORIA MURPHY       ---¢--   NOV 10, 2021




       awyers for the publisher of the Mail on Sunday are appearing in court
L     this week appealing against a summary judgement that found their
publication of parts of a letter the Duchess of Sussex wrote to her father was
  Case 8:22-cv-00511-CEH-TGW Document 1-2 Filed 03/03/22 Page 8 of 22 PageID 24
  "unlawful." And today, a witness statement that they hope to be able to rely
  on as evidence was released, putting previously unseen communications
  between Meghan and Harry and their staff into the spotlight.


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  today at the same time as a statement from Meghan outlining her response.
  On the subject of Meghan's letter to her father, Mr. Knauf s statement details
  how Meghan told him she drafted the letter with "the understanding that it
  could be leaked" and considered how calling Mr. Markle 'Daddy' would "pull
  at the heartstrings" in the "unfortunate" event it was made public.

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  "The Duchess wanted to make sure that if the letter became public it would
  assist with setting out her perspective on the problems with her father's
  behaviour," Mr. Knauf said. "In the messages on 24 August she said she felt
  'fantastic; after writing it and added that: 'And if he leaks it then that's on his
  conscious(sic) but at least the world will know the truth. Words I could
  never voice publicly."'
Case 8:22-cv-00511-CEH-TGW Document 1-2 Filed 03/03/22 Page 9 of 22 PageID 25
Lawyers for Associated Newspapers hope to be able to use Mr. Knauf's
evidence to challenge Lord Justice Warby's summary judgement in Meghan's
favor earlier this year. In written submissions to the court, Meghan's legal
team have requested the appeal be dismissed and accused the newspaper
group of trying to "muddy the waters, and to generate a proliferation of
factual issues which it relies upon as justifying a trial."

Mr. Knauf's witness statement begins by saying that he that he had adopted
a "position of neutrality'' in the case, which Meghan first launched against
the publisher in October 2019 following their publication of the letter in
February 2019. "Given Mr Markle's increasing cooperation with reporters
and photographers the Duchess had lost confidence that the privacy of her
communication with her father would be respected by him," Mr. Knauf said.
He added that Meghan "explored options for written communication that
might convince him to stop giving interviews, but that could also set the
record straight if he gave them to the media."

Mr. Knauf's statement went on to detail how Meghan texted him in August
2018 with a draft of the letter, saying, "obviously everything I have drafted is
with the understanding that it could be leaked so I have been meticulous in
my word choice ... "

"She also asked a specific question regarding addressing Mr Markle as
'Daddy' in the letter, saying 'given I've only ever called him daddy it may
make sense to open as such (despite him being less than paternal), and in
the unfortunate event that it leaked it would pull at the heartstrings,"' he
said.

Mr. Knauf added that Meghan "wanted to write a letter rather than an email
or text message (other options she had considered and discussed with senior
Royal Household staff) as a letter could not be forwarded or cut and pasted
Case 8:22-cv-00511-CEH-TGW Document 1-2 Filed 03/03/22 Page 10 of 22 PageID 26
to only share one small portion." Mr. Knauf continued about Meghan, "As
part of a series of messages on August 24, 2018, she explained that she had
given careful thought to how to prevent the letter being leaked in part or in
a misleading way. She explained to me by text that she had numbered the
pages at the top to indicate the length of the letter (1/5, 2/5 etc). She also
deliberately ended each page part way through a sentence so that no page
could be falsely presented as the end of the letter. In the event that it was
leaked she wanted the full narrative as set out in the letter to be understood
and shared. She said she had 'toiled over every detail which could be
manipulated'."

In a 22-page response to Mr. Knauf's witness statement, the Duchess of
Sussex gave her own account of events, saying that "While we had to
recognize that anything was possible in the extraordinary circumstances in
which we were living and therefore the need to mitigate against the risks of
disclosure of the Letter's contents, I did not think that my father would sell
or leak the Letter, primarily because it would not put him in a good light."
She added how she "merely recognized" that it was a "possibility" that the
letter could be leaked, adding, "To be clear, I did not want any of it to be
published, and wanted to ensure that the risk of it being manipulated or
misleadingly edited was minimised, were it to be exploited."

She also said that she was "especially sensitive" to the royal family's
concerns over her father's public comments about them, saying, "I had very
recently married into the family and was eager to please them."

Mr. Knauf's statement also deals with questions over to what extent Meghan
and Harry co-operated with the authors of biography Finding Freedom. ''The
book was discussed directly with the Duchess multiple times in person and
over email," he said, adding that "The Duke and Duchess later authorised
specific cooperation in writing in December 2018."
Case 8:22-cv-00511-CEH-TGW Document 1-2 Filed 03/03/22 Page 11 of 22 PageID 27
Mr. Knauf said he had advised that it was "not a good idea" to put friends in
touch with the authors as "being able to say hand on heart that we did not
facilitate access will be important." Mr. Knauf said about Harry's response,
"The Duke replied the same day saying: ' ... I totally agree that we have to be
able to say we didn't have anything to do with it. Equally; you giving the
right context and background to them would help get some truths out there.
The truth is v much needed and would be appreciated, especially around the
Markle/wedding stuff but at the same time we can't put them directly in
touch with her friends'."       •
In her statement, Meghan said that "Until receipt of Mr Knauf's Witness
Statement the only exchanges I remembered having about the Book with Mr
Knauf were my discussion with him in the Audience Room and the email
exchanges of 12 September 2018 about proactively asking our friends not to
participate in the Book." She also said, "In the light of the information and
documents that Mr Knauf has provided I accept that Mr Knauf did provide
some information to the authors for the Book and that he did so with my
knowledge, for a meeting that he planned for with the authors in his
capacity as Communications Secretary." Apologising and saying she had
"absolutely no wish or intention" to mislead the court, she added, "In fact,
had I been aware of these exchanges at the time of serving the Re-Amended
Reply, I would have been more than happy to refer to them as I feel they
strongly support my case."

The appeal is being heard over three days and a decision will be given at a
later date.


VICTORIA MURPHY
Town & Country Contributing Editor Victoria Murphy has reported on the British Royal Family
for nine years.
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 Meghan's aide regretted not giving
 evidence after Duchess of Sussex won
 lawsuit against MailOnline publisher,
 court documents say
 A trio of judges are considering an appeal by Associated Newspapers Limited against
 a judgment made against them earlier this year, after Meghan sued the company
 when the contents of a letter she sent to her father, Thomas Markle, was published.


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     The Duchess of Sussex's former aide regretted not giving evidence after
     the royal won her legal battle against a newspaper publisher, court
     documents say.


     Three judges have retired to consider their judgment on the appeal against
     the ruling.


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     Meghan sued Associated Newspapers Limited (ANL), the publisher of the
     Mail On Sunday and the MailOnline, over five articles that reproduced parts
     of a "personal and private" letter sent to her father, Thomas Markle, in
     August 2018.




Also Meghan does not work with a stylist;- ls her close friend
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Also Meghan does not work with a stylist; -                       Is her close friend




On Dec 10, 2018, at 2:22 PM, Jason Knauf
                                                                                >> wrote:

HI Ma'am-

Please see attached the areas Omid and Carolyn have asked to discuss with me.

My advice Is that we do not ask your friends to directly engage with them. I think It is important that
we can say hand on heart they had no access, Just In case it goes Into any difficult territory.


 Mr Knauf provided emails to the court




                      From: Jason Knauf
                      Date: December 10, 2018 at 11 :04:27 AM PST

                                              >, Samantha Cohen
                                               rolynbook

                      Very helpful• thank you I Also shows we've been on exactly the same page which Is good I




                      On 10 Dec 2018, at 18 01, M

                      HI Jason

                      Thanks very much for the Info below • for when you sit down with them It may be helpful to have
                      some background reminders so I've Included them below Just In case . I know you are better versed
                      at this than most but assisting where I can . I appreciate your support • please let me know If you
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                          From: Jason Knauf
                          Date: December 10, 2018 at 11:04 :27 AM PST
                          To:M
                                                >, Samantha Cohen
                                                 rolynbook

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                          On 10 Dec 2018, at 18.01, M

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                           Thank youl

                           $
                          • Family: M 's relationship with half-siblings (Including date/timing
                          questions)
                          •They were teenagers when they moved Into her parents' home prior to Meghan being born
                           •Dorla left Tom when Meghan was two years old (moved to the other side of town 45 minutes
                           away). His other children were 1S and 17 years old.
                           -Tom Jr and Samantha dropped out of high school and moved out of their father's home the same
                           year




               The High Court ruled AN L's publication of Meghan's letter to her father was
               unlawful. It meant that there was no need for a trial.


               In an appeal this week Jason Knauf, a former communications secretary for
               the Duke and Duchess of Sussex, said in a witness statement that Meghan
               wrote the letter in question to her father in the knowledge it may be leaked.


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     The duchess apologised, saying she had "not remembered these exchanges"
     and added: "I had absolutely no wish or intention to mislead the defendant
     or the court."

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     More documents were released which showed that ANL was contacted by a
     confidential source close to Mr Knauf after the ruling in Meghan's favour,
     indicating the former aide regretted not giving evidence.



        I MORE ON DUCHESS OF SUSSEX
                       Meghan: Court dismisses appeal by Mail on Sunday publisher over
                       duchess' letter to her father



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                       Meghan's children dismissed as 'fiction' by palace




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           Before the judgement, Mr Knaurs legal team told ANL that his position was
           "strictly neutral" and he did not want to be involved in the litigation.


       After the result, ANL was contacted by the source and the legal team then
           approached Mr Knauf, who at this point wanted to give evidence.




                                   Meghan's letter to father Thomas Markle
                                   'written with public consumption in mind'




           Keith Mathieson, a solicitor for ANL, said: "Mr Knauf was plainly a central
           figure in the events he describes.


           "He was a senior and trusted member of the royal household staff and he
           continues to occupy an important position as CEO of The Royal Foundation.


           "His witness statement is measured in tone and he has been careful not to
           include evidence of matters beyond his own personal knowledge.
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 Meghan said she had no intention to mislead the court
                                                                                                                     •
           "Given the high profile nature of this litigation and the likelihood of his
           evidence (if admitted) being widely reported, as well as the position he
           holds, it is hardly conceivable that he would say anything he did not believe
           to be true and I know of nothing in his evidence which is subject to any
           reasonable challenge."


           Mr Knauf is due to stand down as CEO of the Royal Foundation at the end of
           thesis year.


           Sir Geoffrey Vos, sitting with Dame Victoria Sharp and Lord Justice Bean,
           said they will take time to consider their decision and give their ruling at a
           later date.


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